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                                             UNITED STATES DISTRICT COURT
                                                DISTRICT OF CONNECTICUT
                      ________________________________________

                      TRUSTEES OF THE BRICKLAYERS LOCAL 1                  :
                      CONNECTICUT HEALTH FUND;                             :
                      TRUSTEES OF THE BRICKLAYERS LOCAL 1                  :
                      CONNECTICUT LABOR MANAGEMENT                         :
                      COOPERATION TRUST FUND and THE                       :
                      INTERNATIONAL UNION OF                               :
                      BRICKLAYERS AND ALLIED CRAFTWORKERS,                 :
                      LOCAL 1                                              :
                                                                           :
                                     Plaintiffs                            :       Civil Action No.
                                                                           :
                      V.                                                   :       Date: November 14, 2019
                                                                           :
                      URBAN CONTRACTORS OF CT, LLC                         :
                      ELMAR SHAKIR                                         :
                                                                           :
                                  Defendants                               :
                      _______________________________________

                                                                 COMPLAINT

                              Plaintiffs, by their attorneys, Gould Killian LLP, complaining of the Defendants, allege as

                      follows:
                                                                   PARTIES

                              1.     Plaintiffs are the duly appointed Trustees of the Bricklayers Local 1 Connecticut

                      Health Fund, the Trustees of the Bricklayers Local 1 Connecticut Labor Management
 Gould Killian LLP
280 Trumbull Street   Cooperation Trust Fund, (collectively referred to herein as "Funds") and the International Union
     21st Floor
Hartford CT 06103     of Bricklayers and Allied Craftworkers Local 1.
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240             2.     The Funds are "employee benefit plans" within the meaning of Section 3(3) of

                      The Employment Retirement Income Security Act of 1974 (hereinafter “ERISA”), 29 U.S.C.

                      §1002(3), and are "multiemployer plans" within the meaning of Section 3(37) of ERISA, 29

                      U.S.C. §1002(37). The Funds are established and maintained by a Restated Agreement and
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                      Declaration of Trust and by a Collective Bargaining Agreement between the International Union

                      of Bricklayers and Allied Craftworkers, Local 1 and Urban Contractors of CT, LLC.

                             3.      The defendant, URBAN CONTRACTORS OF CT, LLC (hereinafter "Urban") is a

                      Connecticut limited liability company maintaining offices and conducting business at 3080 Main

                      Street, Hartford, Connecticut. Urban is an “employer in an industry affecting commerce”

                      pursuant to ERISA, 29 U.S.C. §1002(5), (9), (11), (12) and (14).

                             4.      The defendant, ELMAR SHAKIR is an individual who resides at 410 River Street,

                      Windsor, Connecticut. Mr. Shakir is the owner and Sole Member of Urban, and makes all final

                      decisions over payments made by the company. Upon information and belief, Mr. Shakir

                      controls every aspect of the business.

                                                        JURISDICTION AND VENUE

                             5.      This action is brought pursuant to the provisions of Section 515 of the Employee

                      Retirement Income Security Act of 1974, as amended ("ERISA"), 29 U.S.C. §1145. This action

                      arises under the laws of the United States, specifically Section 502(a)(3) of ERISA, 29 U.S.C.

                      §1132(a)(3). Pursuant to Section 502(e)(1) of ERISA, 29 U.S.C. §1132(e)(1), jurisdiction is

                      therefore conferred on this Court.

                             6.      The Funds are administered in Connecticut. The defendant is located in
 Gould Killian LLP
280 Trumbull Street   Connecticut, and the breach occurred in Connecticut. Venue is conferred on this Court
     21st Floor
Hartford CT 06103     pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2), which provides:
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240            (2)     Where an action under this title is brought in a district court of the United States,

                      it may be brought in the district where the plan is administered, where the breach took place, or

                      where a defendant resides or may be found, and process may be served in any other district

                      where a defendant resides or may be found.
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                             7.        Urban performs contracting or subcontracting work in the bricklaying and

                      masonry industry in the State of Connecticut and employs or has employed members of the

                      International Union of Bricklayers and Allied Craftworkers and its affiliated local unions

                      ("Union"), or nonmembers working in covered employment.

                                                              CAUSE OF ACTION

                      COUNT ONE – Breach of Collective Bargaining Agreement and Failure to make benefit

                      contributions pursuant to ERISA

                             8.        Urban, acting by and through its authorized agent or officer, executed a collective

                      bargaining agreement ("Agreement") with the Union.

                             9.        Pursuant to the Agreement, Urban agreed to make certain payments to the

                      Funds maintained on behalf of employees performing work in covered employment.

                             10.       Urban agreed to be bound by the foregoing document and to make certain

                      contributions to the Funds.

                             11.       Under the terms of said contract and of the Declarations of Trust adopted by the

                      Boards of Trustees of the Funds, Urban is also liable for a reasonable rate of interest on said

                      delinquent contributions until paid, plus all costs of collection, including audit fees, attorney's

                      fees and liquidated damages in the amount of twenty (20%) percent of the delinquent
 Gould Killian LLP
280 Trumbull Street   contributions.
     21st Floor
Hartford CT 06103            12.       Pursuant to an audit of Urban’s payroll records, it is delinquent to the Funds in
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240     the amount of $17,469.15 for the time period January 1, 2016 through September 30, 2018.

                             13.       Based upon reports of hours worked in covered employment submitted by Urban,

                      an additional $47,169.79 is due for October 1, 2018 through July 31, 2019.
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                             14.     As long as Urban continues to employ workers performing covered employment,

                      the delinquency owed to the Funds will increase during the pendency of this action.

                             15.     Due demand for the foregoing amount has been made upon Urban by counsel

                      for the Funds, but to date the foregoing contributions, interest and liquidated damages due and

                      owing to the Funds have not been paid.

                             16.     As a result of Urban's failure to meet its obligations under the terms of the

                      collective bargaining agreement, Plaintiffs have been required to employ counsel in order to

                      enforce such obligations. Plaintiffs have brought this action in faithful performance of the

                      fiduciary duties imposed upon them under Section 404(a)(1) of ERISA, 29 U.S.C. §1104(a)(1).

                      Plaintiffs have been, and are, incurring attorney's fees as a direct result of Urban’s failure to

                      make contributions in accordance with the terms and conditions of the pertinent collective

                      bargaining agreement.

                      COUNT TWO – Pierce the corporate veil

                             17.     The plaintiffs reallege paragraphs eight through sixteen of Count One above as if

                      more fully set forth herein as paragraph seventeen through twenty-five of this Count Two.

                             26.     At all times relevant hereto, the defendant, Elmar Shakir, was the owner and sole

                      member of Urban.
 Gould Killian LLP
280 Trumbull Street          27.     Upon information and belief, at all times relevant hereto, the defendant, Urban
     21st Floor
Hartford CT 06103     was the mere instrumentality of Elmar Shakir, in that Mr. Shakir exercised complete control and
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240     domination of the finances, policies and business practices of Urban, which control he exercised

                      to prevent the payment of contributions justly owed to the funds.
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                      COUNT THREE – Breach of Fiduciary duty

                             28.       The plaintiffs reallege paragraphs eight through sixteen of Count One above as if

                      more fully set forth herein as paragraph twenty-eight through thirty-six of this Count Two.

                             37.       The delinquent contributions owed to the Funds are Trust assets pursuant to the

                      Declarations of Trust referred to above.

                             38.       Elmar Shakir exercised discretionary authority or discretionary control over the

                      management or disposition of Fund assets, in that he controlled the payment or nonpayment of

                      the benefit contributions.

                             39.       Elmar Shakir controlled how the funds paid to the company were used, and used

                      Trust assets for purposes other than payment of benefit contributions.

                             40.       Elmar Shakir is a fiduciary under ERISA, 29 U.S.C.A. §1002(21)(A).

                             41.       Elmar Shakir is personally liable for the delinquent contributions pursuant to

                      ERISA §29 U.S.C.A. 1109(a).

                             WHEREFORE, Plaintiffs demand judgment against the Defendants as follows:

                             1.        For a money judgment consisting of the following:

                                       a. For unpaid contributions due in the amount of $64,638.94 (ERISA Section

                      502(g)(2)(A));
 Gould Killian LLP
280 Trumbull Street                    b. For interest assessed on the delinquent contributions calculated from the date
     21st Floor
Hartford CT 06103
  (860) 278-1270
                      due through the date of judgement at the rate of 12 percent per annum pursuant to contract and
Fax (860) 244-9290
  Juris No. 24240     ERISA Section 502(g)(2)(B));

                                       c. For liquidated damages assessed on the delinquent contributions at the rate

                      of 20 percent pursuant to contract and ERISA Section 502(g)(2)(C);
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                             2.      For reasonable attorneys' fees and costs of this case pursuant to contract and

                      ERISA Section 503(g)(2)(D);

                             3.      That the Defendants be ordered to comply with its obligations to report and to

                      contribute to the Funds during the pendency of this action;

                             4.      That the Defendants be ordered to comply with its obligations to allow a Field

                      Audit of payroll records by the Funds during the pendency of this action;

                             5.      Such other legal or equitable relief as this Court deems appropriate, including

                      judgment for any contributions and/or interest thereon that may accrue subsequent to the filing

                      of this complaint, as well as any resulting penalties thereon pursuant to ERISA.

                      Dated at Hartford, Connecticut this 14th day of November, 2019.



                                                                          PLAINTIFFS

                                                                          By /s/Nancy Gould
                                                                          Nancy Gould
                                                                          Fed. Bar No. CT 10567
                                                                          Gould Killian LLP
                                                                          280 Trumbull Street, 21st floor
                                                                          Hartford, CT 06103
                                                                          Phone: (860)278-1270
                                                                          Fax: (860)244-9290
                                                                          Email: ngould@gouldkillian.com
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  Juris No. 24240
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                                                     CERTIFICATE OF SERVICE

                      This is to certify that a copy of the foregoing Complaint has been served by

                      certified mail, as required by 502(h) of the Employee Retirement Income Security Act of 1974,

                      29 U.S.C. Section 1132(h), this 14th day of November 2019, on the following:


                      Secretary of the Treasury
                      INTERNAL REVENUE SERVICE
                      P.O. Box 13163
                      Baltimore, MD 21203
                      Attn: Employee Plans

                      Secretary of Labor
                      200 Constitution Avenue, N.W.
                      Washington, D.C. 20210
                      Attn: Assistant Solicitor for Plan
                            Benefits Security

                                                                By    /s/Nancy Gould
                                                                        Nancy Gould
                                                                        Fed. Bar No. CT 10567
                                                                        Gould Killian LLP
                                                                        280 Trumbull Street, 21st floor
                                                                        Hartford, CT 06103
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